Case 1:17-cv-04327-LLS-RWL Document 76

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

X
MICHAEL DARDASHTIAN, individually and,

on behalf of COOPER SQUARE VENTURES,
LLC, NDAP, LLC, and CHANNEL REPLY,

LLC,

Piaintiffs,

- against -

DAVID GITMAN, JEREMY FALK, SUMMIT,
ROCK HOLDINGS, LLC, ACCEL
COMMERCE, LLC, DALVA VENTURES, LLC,
KONSTANTYN BAGAEV, OLESKSII
GLUKHAREV, and CHANNEL REPLY, INC.,

Defendants.

x

 

Filed 02/05/18 Page 1 of 2

 

 

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17 Civ. 4327 (LLS) (RWL)

ORDER

ROBERT W. LEHRBURGER, United States Magistrate Judge.

As directed at the February 5, 2018 status conference addressing the Plaintiffs’

letter (Dkt. 75), the current deadlines set forth in the October 10, 2017 Order (Dkt. 68) are

modified as foliows:

1. The Parties shall issue written requests for documents and interrogatories by

February 28, 2018.

2. The Parties shall provide written responses and objections to requests for

document production and interrogatories by March 30, 2018.

3. Document production pursuant to an e-discovery protocol shall take place by

May 31, 2018.

4, Fact witness depositions shall be completed by July 31, 2018.

5. Expert reports shall be exchanged by August 31, 2018.

1

 

 
Case 1:17-cv-04327-LLS-RWL Document 76 Filed 02/05/18 Page 2 of 2

6. Expert depositions shall be completed by September 28, 2078.

7. The Parties shall file any dispositive motions by October 31, 2018.

8. The joint pretrial order, prepared in conformity with Judge Stanton’s Individual
Rules, shall be submitted within 30 days after a decision on dispositive motions.

9. A trial date shall be scheduled 60 days after a decision on dispositive motions.

SO ORDERED.

C

Robert W. Lehrburger
United States Magistrate Judge

 

Dated: February 5, 2078
New York, New York

Copies transmitted to all counsel of record.
